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8
                                  UNITED STATES DISTRICT COURT
9
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                             SAN JOSE DIVISION
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                                                    )     CASE NO.: 5:24-mc-80019 (EJD)
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                                                    )
14                                                  )
     In re Ex Parte Application of                  )     STIPULATION AND PROPOSED ORDER
15                                                  )     EXTENDING DEADLINE TO MOVE TO
     QUALCOMM INCORPORATED,                         )     QUASH, RESPOND TO, OR COMPLY
16                                                  )     WITH SUBPOENA
                                   Applicant.       )
17                                                  )     Judge: Hon. Edward J. Davila
     Application for an Order Pursuant to 28 U.S.C. )
18   § 1782 Granting Leave to Conduct Discovery For )
     Use in a Foreign Proceeding                    )
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                                          STIPULATION AND PROPOSED ORDER
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1             Pursuant to Local Civil Rules 6-2 and 7-12, applicant Qualcomm Incorporated (“Qualcomm”)

2    and respondent Apple Inc. (“Apple”) hereby stipulate as follows:

3             WHEREAS, on December 7, 2023, the Consumers’ Association (“Which?”) commenced a

4    miscellaneous proceeding captioned In re Consumers’ Association, No. 23-mc-80322 (N.D. Cal.) (the

5    “Which? 1782 Proceeding”) seeking discovery pursuant to 28 U.S.C. § 1782 (“Section 1782”) from

6    Apple, as well as Samsung Semiconductor, Inc. and Samsung Electronics America, Inc. (together,

7    “Samsung”), in connection with a lawsuit (the “U.K. Action”) that Which? commenced against

8    Qualcomm in 2021 before the Competition Appeal Tribunal of the United Kingdom, see Which? Dkt.

9    No. 1;

10            WHEREAS, on January 24, 2024, the Court entered an ex parte order in the Which? 1782

11   Proceeding authorizing Which? to serve subpoenas on Apple and Samsung, without prejudice to any

12   argument that may be raised in a motion to quash, and requiring Apple and Samsung to file any such

13   motion within 30 days of service or notice of the subpoenas and this Court’s January 24, 2024 order,

14   see Which? Dkt. No. 21 at 7;

15            WHEREAS, on January 26, 2024, Qualcomm commenced the above-captioned miscellaneous

16   proceeding (the “Qualcomm 1782 Proceeding” and, with the Which? 1782 Proceeding, the “1782

17   Proceedings”), also seeking discovery pursuant to Section 1782 from Apple and Samsung in connection

18   with the U.K. Action, see Qualcomm Dkt. No. 1;

19            WHEREAS, on January 30, 2024, Qualcomm filed a request to relate the 1782 Proceedings

20   pursuant to Local Civil Rules 3-12 and 7-11, see Which? Dkt. No. 22 at 2-3, and the Court related the

21   Proceedings on February 7, 2024, see Which? Dkt. No. 24; Qualcomm Dkt. No. 13;

22            WHEREAS, on February 9, 2024, this Court entered an ex parte order in the Qualcomm 1782

23   Proceeding authorizing Qualcomm to serve subpoenas on Apple and Samsung, without prejudice to any

24   argument that may be raised in a motion to quash, and requiring Apple and Samsung to file any such

25   motion within 30 days of service or notice of the subpoena and this Court’s February 9, 2024 order, see

26   Qualcomm Dkt. No. 14 at 6;

27            WHEREAS, on February 14, 2024, Apple filed motions in the Which? 1782 Proceeding seeking

28   to consolidate the 1782 Proceedings pursuant to Rule 42(a) of the Federal Rules of Civil Procedure, see


                                         STIPULATION AND PROPOSED ORDER
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1    Which? Dkt. No. 27, and to stay the deadline for Apple to respond to the subpoena that Which? delivered

2    to Apple pursuant to this Court’s order of January 24, 2024, see Which Dkt. No. 28;

3           WHEREAS, on February 15, 2024, Qualcomm served a subpoena and a copy of this Court’s

4    February 9, 2024 order on Apple, making March 18, 2024 the deadline for Apple to move to quash that

5    subpoena;

6           WHEREAS, on February 16, 2024, this Court entered a stipulated order in each of the 1782

7    Proceedings setting April 3, 2024 as the deadline for Samsung to move to quash the subpoenas that

8    Which? and Qualcomm were authorized to serve on Samsung, see Which? Dkt. No. 30; Qualcomm Dkt.

9    No. 18;

10          WHEREAS, on February 21, 2024, this Court entered an order in each of the 1782 Proceedings

11   granting Apple’s motion to stay the deadline for Apple to respond to the subpoena that Which? delivered

12   to Apple, and ordering that Apple “need not move to quash, respond to or comply with” that subpoena

13   “until April 3, 2024,” see Which? Dkt. No. 32; Qualcomm Dkt. No. 20;

14          WHEREAS, Qualcomm does not oppose Apple’s motion to consolidate the 1782 Proceedings,

15   see Which? Dkt. No. 33;

16          WHEREAS, Qualcomm and Apple wish to extend Apple’s March 18, 2024 deadline to move to

17   quash Qualcomm’s subpoena in order to continue exploring whether a compromise can be reached that

18   would obviate the need for a motion to quash; and

19             WHEREAS, Qualcomm and Apple wish to set April 3, 2024 as the deadline for Apple to move

20   to quash or respond to Qualcomm’s subpoena in order to align all parties’ motion-to-quash deadlines in

21   the 1782 Proceedings and thereby allow an opportunity for efficient briefing of motions to quash.

22          NOW THEREFORE, APPLE AND QUALCOMM HEREBY STIPULATE, subject to the

23   approval of this Court, that April 3, 2024 is the deadline for Apple to move to quash or respond to the

24   subpoena that Qualcomm served on Apple in connection with the Qualcomm 1782 Proceeding.

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                                         STIPULATION AND PROPOSED ORDER
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3    DATED: March 7, 2024               Respectfully submitted

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                                STIPULATION AND PROPOSED ORDER
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1                                 [PROPOSED] STIPULATED ORDER

2
            PURSUANT TO STIPULATION, IT IS SO ORDERED that April 3, 2024 is the deadline for
3
     Apple to move to quash or respond to the subpoena that Qualcomm served on Apple in connection with
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     the above-captioned miscellaneous proceeding, case number 5:24-mc-80019.
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6
            March 15, 2024
     Date:________________                            _______________________________
7                                                     HONORABLE EDWARD J. DAVILA
                                                      UNITED STATES DISTRICT JUDGE
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